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                    8

                    9                                       UNITED STATES DISTRICT COURT

                 10                                     NORTHERN DISTRICT OF CALIFORNIA

                 11                                            SAN FRANCISCO DIVISION

                 12

                 13         ELMER N. RODRIGUEZ, an individual and on        Case No. 3:21-cv-07874-LB
                            behalf of all others similarly situated,
                 14                                                         NOTICE OF MOTION AND MOTION
                                              Plaintiffs,                   TO DISMISS PLAINTIFF’S SECOND
                 15                                                         AMENDED COMPLAINT PURSUANT
                                   v.                                       TO FED. R. CIV. P. 12(b)(6);
                 16                                                         MEMORANDUM OF POINTS AND
                            GONSALVES & SANTUCCI, INC., a                   AUTHORITIES IN SUPPORT
                 17         California corporation; and DOES 1 through
                            100, inclusive,                                 Hearing Date:   August 18, 2022
                 18                                                         Time:           9:30 a.m.
                                              Defendants.                   Judge           Hon. Laurel Beeler
                 19                                                         Location:       Via Zoom
                 20                                                         Webinar ID:     161 469 8626
                                                                            Password:       546984
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                                                                                          iii.
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                        1                                 NOTICE OF MOTION AND MOTION

                        2   TO PLAINTIFF AND HIS ATTORNEYS OF RECORD:

                        3          PLEASE TAKE NOTICE that on August 18, 2022 at 9:30 AM, or as soon thereafter as the

                        4   matter can be heard, via Zoom, in Courtroom B – 15th Floor, located at 450 Golden Gate Avenue, San

                        5   Francisco, CA 94102, Defendant Gonsalves & Santucci, Inc. (“Defendant”) will and hereby does

                        6   move the Court for an order dismissing Plaintiff’s Second Amended Complaint (“SAC”) with

                        7   prejudice under Federal Rule of Civil Procedure 12(b)(6). Defendant brings the present Motion on the

                        8   ground that Plaintiff’s SAC fails to set forth any new facts or claims to avoid this Court’s prior

                        9   dismissal of the action based on preemption by the Labor Management Relations Act, 28 U.S.C. §

                     10     185, et seq. Accordingly, Plaintiff’s SAC fails to state a claim upon which relief can be granted as a

                     11     matter of law, and the SAC must be dismissed in its entirety with prejudice.

                     12            This Motion is based on this Notice, the following Memorandum of Points and Authorities,

                     13     and all accompanying exhibits, and all the pleadings, papers, and records on file herein, as well as any

                     14     other argument or evidence presented at or before the time of the hearing on this Motion.

                     15
                            Dated: July 11, 2022                                  LITTLER MENDELSON P.C.
                     16

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                     18
                                                                                  Gregory G. Iskander
                     19
                                                                                  Attorneys for Defendant
                     20                                                           GONSALVES & SANTUCCI, INC.

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                        1   I.     INTRODUCTION

                        2          This Court previously dismissed Plaintiff’s original complaint under Rule 12(b)(6) finding that

                        3   Plaintiff’s claims were preempted by Section 301 of the Labor Management Relations Act (“LMRA”).

                        4   (ECF # 31.) Plaintiff thereafter filed a First Amended Complaint (EFC # 32), and following a second

                        5   motion to dismiss by Defendant under Rule 12(b)(6), the Court again dismissed the action and entered

                        6   judgment in favor of Defendant. (ECF # 46.) Plaintiff thereafter filed a motion for reconsideration

                        7   and requested leave to file yet another complaint, assuring the Court that it would set forth cognizable

                        8   facts for a minimum wage claim under the California Labor Code. (ECF # 50.) Yet, Plaintiff’s Second

                        9   Amended Complaint (“SAC”) (ECF # 58) adds NO facts at all, and only adds legal argument and legal

                     10     conclusions. Thus, because the Second Amended Complaint is factually no different from the First

                     11     Amended Complaint that the Court dismissed, there is no basis for the Second Amended Complaint

                     12     to survive the same fate.

                     13            Even if this Court were to allow Plaintiff’s First Cause of Action for Failure to Pay Minimum

                     14     Wage to proceed (which it should not as it was already dismissed), the other three causes of action

                     15     may not be maintained as those claims were specifically determined to be preempted by the CBA.

                     16     (ECF # 46.) This is specifically true of Plaintiff’s final pay claim under Labor Code 203 (Third Cause

                     17     of Action). Plaintiff’s attempt to circumvent the Court’s ruling by asserting a final pay claim as

                     18     “derivative” is unavailing as it is a specific wage claim covered by the CBA and thus cannot proceed

                     19     without resolving the previously dismissed claims and without Plaintiff’s compliance and completion

                     20     of the CBA’s grievance arbitration process. Until these substantive wage and hour claims are resolved

                     21     in the appropriate forum before the Board of Adjustment, Plaintiff cannot circumvent the Court’s

                     22     ruling by asserting them as derivative claims in court. Because the Court has already held that Plaintiff

                     23     failed to adhere to the grievance procedure as expressed in the CBA, and his SAC continues to omit

                     24     any facts alleging exhaustion, the SAC must be dismissed with prejudice and without leave to amend

                     25     because there is no conceivable amendment which cures this glaring deficiency.

                     26     II.    STATEMENT OF ISSUE TO BE DECIDED

                     27            The issue raised by this motion is whether the Court should dismiss the Second Amended

                     28     Complaint in its entirety with prejudice because it does not add any new factual allegations to
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                        1   overcome this Court’s prior ruling that Section 301 of the LMRA preempts Plaintiff’s claims.

                        2   III.     STATEMENT OF FACTS
                        3            A.      Plaintiff’s Amendments After Dismissal of His Original Complaint
                        4            Plaintiff filed his original Complaint on August 24, 2021 (ECF # 2-1) which alleges he was

                        5   employed by Defendant as a non-exempt employee who was assigned duties to assist on construction

                        6   projects in California from February 2020 through December of 2020. (See ECF # 2-1, ¶ 2). The

                        7   Complaint, asserted as a class action, included nine causes of action asserting a variety of wage and

                        8   hour violations under California law (See ECF # 2-1, ¶¶ 30-92.)

                        9            On October 7, 2021, Defendant removed the action from Contra Costa Superior Court on the

                     10     basis of federal subject matter jurisdiction. (ECF # 1.) Because all of Plaintiff’s claims were preempted

                     11     by Section 301 of the Labor Management Relations Act, Defendant moved for dismissal of the original

                     12     Complaint. (ECF # 13.) On January 18, 2022, the Court granted Defendant’s motion and dismissed

                     13     Plaintiff’s claims, but Plaintiff was granted leave to amend his complaint by February 8, 2022. (ECF

                     14     # 31.)

                     15              On February 8, 2022, Plaintiff filed his First Amended Complaint which re-alleged the

                     16     following four causes of action: (1) failure to pay minimum wages as required by Labor Code §§ 1197,

                     17     1199 and IWC Wage Orders; (2) failure to provide accurate wage statements as required by Labor

                     18     Code § 226; (3) failure to pay all wages due at termination as required by Labor Code §§ 201-203 and

                     19     IWC Wage Orders; and (4) violation of Business & Professions Code § 17200. (See ECF # 32. ¶¶ 26-

                     20     52.)

                     21              On February 22, 2022, Defendant moved for dismissal of the First Amended Complaint. (ECF

                     22     # 34.) On April 5, 2022, the Court granted Defendant’s motion and dismissed Plaintiff’s claims

                     23     without leave to amend. (ECF # 46-47.) Plaintiff then filed a motion for reconsideration despite the

                     24     fact that judgment was entered. (ECF # 50.) In response to Plaintiff’s motion for reconsideration,

                     25     the Court gave Plaintiff leave to file yet another amended complaint. (ECF # 57.) Plaintiff filed his

                     26     Second Amended Complaint on June 27, 2022. (ECF # 58.)

                     27              The Second Amended Complaint adds zero new factual allegations. Rather, the SAC made

                     28     the following amendments from the dismissed First Amended Complaint:
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                                                                              3.
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                        1         1. In the introduction, adding:
                                         a. This is an action for unpaid wages and related claims arising out of GONSALVES &
                        2                    SANTUCCI, INC.’s failure to pay its employees for all hours worked. From the
                        3                    moment this action originally was filed in Contra County Superior Court, it has
                                             sought payment for hours that employees worked off-the-clock—that is, work for
                        4                    which Defendants paid no wages at all. California law clearly establishes that an
                                             employer may not bargain around its statutory duty to pay for all hours worked.
                        5                    Plaintiff's claims seek to vindicate nonnegotiable state-law rights that are independent
                                             of any right established by contract. Therefore, Plaintiff ELMER N. RODRIGUEZ
                        6                    comes before this Court as an individual and also on behalf of all others similarly
                        7                    situated, to seek what is rightfully owed: payment of wages for work performed.

                        8         2. In the fact section, adding:
                                         a. Defendants assert that a Collective Bargaining Agreement (“CBA”) governs the
                        9                    employment relationship. However, Plaintiff’s minimum wage claims depend entirely
                                             on whether the time at issue constitutes compensable hours worked under the
                     10                      applicable state law. Plaintiff’s claims do not arise in any manner from any CBA-
                     11                      based obligations. Plaintiff’s state law claims exist independently of the CBA.
                                             Plaintiff’s claims are based on a failure to compensate at all for certain hours worked
                     12                      by Plaintiff and Class Members.
                                         b. Plaintiff’s state law claims alleged in this action do not depend on analysis of the
                     13                      CBA for reasons including, inter alia, that no actual dispute exists as to any CBA
                                             terms in connection with any of Plaintiff’s claims; there is no disagreement between
                     14                      Plaintiff and Defendants about the meaning or application of any relevant CBA-
                     15                      covered terms of employment; and there is no dispute between Plaintiff and
                                             Defendants regarding either the term “actual hours worked” and/or the term “show up
                     16                      expenses” as those terms are used in the CBA. The mere reference in the CBA to the
                                             terms “actual hours worked” and “show up expenses” does not in itself create a
                     17                      dispute about these terms.
                                         c. The terms “actual hours worked” and “show-up expenses” as used in the CBA are not
                     18                      industry terms. Defendants have not pointed to any practice in the industry or in its
                     19                      shop supporting that the term “actual hours worked” has some arcane meaning
                                             requiring substantial interpretation. The CBA unambiguously defines the term “show
                     20                      up expense” in a manner that leaves no room for interpretation or augmentation by
                                             some nebulous, unspecified “industry” meaning. Therefore, Section 301 of the Labor
                     21                      Management Relations Act does not preempt Plaintiff’s claims. Section 301 does not
                                             grant the parties to a CBA the ability to contract for what is illegal under state law.
                     22
                            The causes of action (and their allegations) are unchanged.
                     23
                            IV.      LEGAL ARGUMENT
                     24
                                     A.      Because the Second Amended Complaint Fails to Allege Any New Facts, The
                     25                      Basis for the Dismissal of the First Amended Complaint Applies Equally.
                     26              Federal pleading standards require the presentation of factual allegations sufficient to state a
                     27     plausible claim for relief as to each defendant. Barren v. Harrington, 152 F.3d 1193, 1194 (9th Cir.
                     28     1998) (“[a] plaintiff must allege facts, not simply conclusions, that show that an individual was
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                        1   personally involved in the deprivation of civil rights”). A pleading is insufficient if it offers mere

                        2   “labels and conclusions” or “a formulaic recitation of the elements of a cause of action.” Bell Atlantic

                        3   v. Twombly, 550 U.S. 554, 555 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009) (“Threadbare

                        4   recitals of the elements of a cause of action, supported by mere conclusory statements, do not

                        5   suffice.”). The court “does not necessarily assume the truth of legal conclusions merely because they

                        6   are case in the form of factual allegations.” Paulsen v. CNF Inc., 559 F.3d 1061, 1071 (9th. Cir, 2009)

                        7   (citations and quotation marks omitted). Courts “are not bound to accept as true a legal conclusion

                        8   couched as a factual allegation.” Ashcroft, 556 U.S. at 678 (quoting Bell Atlantic, 550 U.S. at 555).

                        9   Legal conclusions must be supported by factual allegations to survive a motion to dismiss. Id. at 679.

                     10     When considering a motion to dismiss, a court can “begin by identifying pleadings that, because they

                     11     are no more than conclusions, are not entitled to the assumption of truth.” Id.

                     12            Here, Plaintiff did nothing to change the nature of the allegations because he only added legal

                     13     conclusions. Because his legal conclusions cannot form the basis for the pleading, then the Second

                     14     Amended Complaint is plead exactly the same as the dismissed First Amended Complaint. Thus the

                     15     basis for the Court’s dismissal of the First Amended Complaint applies equally to the Second

                     16     Amended Complaint. See Foman v. Davis, 371 U.S. 178, 182 (1962) (noting that repeated failure to

                     17     cure deficiencies in the complaint by amendments previously allowed is proper basis for denial).

                     18            B.      This Court Should Dismiss Plaintiff’s SAC Pursuant to Federal Rule of Civil
                                           Procedure 12(b)(6)
                     19
                                   Although Plaintiff was provided another opportunity to amend his complaint, his additional
                     20
                            allegations in the SAC fail to cure the fatal deficiencies in his original Complaint, and accordingly fail
                     21
                            to establish entitlement to relief under Fed. R. Civ. P. 12(b)(6). Bell Atlantic, 550 U.S. at 555, 570;
                     22
                            Balistreri v. Pacifica Police Dept., 901 F.2d 696, 699 (9th Cir. 1988). “The court must dismiss a
                     23
                            complaint that does not assert, or fails to plead sufficient facts to support, a cognizable legal theory.
                     24
                            Marquez v. Toll Glob. Forwarding (USA) Inc., 2018 WL 3218102, at *3-4 (C.D. Cal. June 28, 2018)
                     25
                            (citing Fed. R. Civ. P. 12(b)(6); Balisteri, 901 F.2d at 699). This Court has already held that the
                     26
                            “unpaid wages claim turns on the analysis of the CBA and interpretation of its terms.” (ECF # 31 at
                     27
                            p. 9. See ECF # 46 at p. 8 & 9.) And this Court also held that Plaintiff’s derivative claims for “waiting
                     28
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                        1   time penalties, failure to pay final wages in violation of Cal. Labor Code § 203, failure to provide

                        2   accurate statements, and the UCL claim …require analysis and interpretation of the CBA.” (ECF # 31

                        3   at p. 10. See ECF # 46 at 10.) Applying the same standards in reviewing Plaintiff’s original Complaint,

                        4   and FAC, the Court must yet again, dismiss Plaintiff’s SAC as Plaintiff’s meaningless amendments

                        5   do nothing to avoid the final outcome: Plaintiff’s claims are preempted by Section 301 of the LMRA,

                        6   and all his claims must be submitted to binding grievance arbitration. Because it is inconceivable to

                        7   allege any facts or legal bases for his claims to proceed in this Court, any further attempt to amend

                        8   clearly would be futile.

                        9          C.      Section 301 of the LMRA Preempts Plaintiff’s Derivative Claims
                     10                    1.      Plaintiff’s Failure to Pay Timely Final Wages Claim (Third Cause of
                                                   Action) is Subject to Preemption as a Result of Alternative Pay
                     11                            Arrangements Provided by the CBA
                     12            As the Court already held, the LMRA preempts the claim for failure to timely pay final wages

                     13     under Cal. Labor Code §§ 201 through 203 because the CBA has different pay arrangements. (ECF

                     14     #31 at p. 8) (citing Gillette v. Stater Bros. Mkts., Inc., No. 19-cv-1292-JVS, 2019 WL 8017735, at *6

                     15     (C.D. Cal. Sept. 23, 2019)). When a CBA has alternate pay arrangements to those in the Labor Code,

                     16     wage payments arise under the CBA and not state law. Id. (citing Hall v. Live Nation Worldwide, Inc.,

                     17     146 F. Supp. 3d 1187, 1201–02 (C.D. Cal. 2015)). The Court found that the CBA provided that the

                     18     regular payday was once a week “on the day agreed upon between” the employer and the union. And

                     19     laid-off or terminated employees are to be paid in full immediately by check or other defined means,

                     20     and if required to go elsewhere (such as the employer’s office), they are to be paid for the time to get

                     21     there. Id. (citing 2017 CBA (ECF # 3-1) at p. 44; 2020 CBA (ECF #3-2) at p. 44)). The CBA provides

                     22     for penalties if workers are not paid during usual working hours, including overtime pay for extra time

                     23     spent on the job site or for delay. Id. (citing 2020 CBA (ECF #3-2) at p. 44-45). Accordingly, these

                     24     are alternate pay arrangements, and thus Plaintiff’s wage payment rights arise under the CBA and not

                     25     under state law. Id. (citing Gillette, 2019 WL 8017735 at *6; Hall, 146 F. Supp. 3d at 1201-02).

                     26     Plaintiff’s apparent attempt to change the claim from a direct claim to a derivative claim does nothing

                     27     to save the claim from preemption. Whether Plaintiff’s final pay was late or not is governed directly

                     28     by the CBA and/or requires interpretation of the final pay provisions of the CBA.
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                        1          D.      Should The Court Decline To Dismiss Plaintiff’s SAC In Its Entirety Or Permits
                                           Plaintiff To Proceed With His Claims, Defendant Respectfully Requests A Stay
                        2                  Of This Matter Pending Resolution Of The Claims Which Plaintiff Must Bring
                                           Before The Board Of Adjustment.
                        3
                                   Even if this Court were to permit Plaintiff to proceed with his minimum wage claim (first
                        4
                            claim), the derivative claims (second, third, and fourth claims) are duplicative of the same claims
                        5
                            Plaintiff is otherwise required to pursue in arbitration under the grievance procedure of the CBA. To
                        6
                            allow Plaintiff to pursue claims for wage statements and late final pay in this action, while also
                        7
                            allowing him to pursue those claims in arbitration, would allow for duplicative litigation, potentially
                        8
                            consistent rulings, and potential double recovery. See Brillhart v. Excess Ins. Co. of America, 316
                        9
                            U.S. 491, 495 (1942) (noting it is “uneconomical as well as vexatious” for a federal court to proceed
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                            in an action where another suit is pending in a different jurisdiction presenting the same issues, not
                     11
                            governed by federal law, and between the same parties). Notably, there can only be a single penalty
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                            under Labor Code 226 for a wage statement violation, even if there are multiple violations. For
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                            example, if Plaintiff were to establish in this action a failure to pay minimum wage that results in a
                     14
                            wage statement violation, he would be entitled to a $50-$100 penalty per pay period. Lab. Code
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                            § 226(e). But, if Plaintiff also establishes in arbitration a failure to pay overtime for that same pay
                     16
                            period, it would also constitute a wage statement violation. However, Plaintiff cannot recover the $50-
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                            $100 penalty twice for the same wage statement violation. Thus, allowing this matter to proceed as to
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                            the derivative claims could result in an improper double recovery. See Sanchez v. Martinez, 54 Cal.
                     19
                            App. 5th 535, 546 (2020) (describing rule against double recovery); Plotnik v. Meihaus, 208 Cal. App.
                     20
                            4th 1590, 1612 (2012) (noting that double or duplicative recovery for the same items of damage
                     21
                            amounts to overcompensation and is therefore prohibited); Unilogic, Inc. v. Burroughs Corp., 10 Cal.
                     22
                            App. 4th 612, 626 (1992) (noting that restitution is permitted only to the extent such is not taken into
                     23
                            account in computing damages for actual loss).
                     24
                                   E.      Plaintiff’s Second Amended Complaint Should Be Dismissed Without Leave to
                     25                    Amend Because Plaintiff Failed to Exhaust the CBA’s Grievance Procedures

                     26            The Court found that Plaintiff pleaded no facts in his original complaint that he exhausted the

                     27     CBA’s grievance process. (ECF #31 at p. 11.) Again Plaintiff’s FAC, and now SAC, notably omit

                     28     any allegation he complied with this grievance procedure and submitted his claims to the Board of
LITTLER MEND ELSO N, P.C.

                                                                             7.
        Treat Towers
    1255 Treat Boulev ard
          Suite 600                                                                                    Case No. 3:21-CV-07874-LB
   Walnut Creek, CA 94597
        925.932.2468

                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
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                        1   Adjustment. As a result, this Court should dismiss Plaintiff’s FAC, requiring him to first pursue these

                        2   claims under the CBA’s grievance arbitration provisions.

                        3          F.      The Court Should Dismiss Plaintiff’s Second Amended Complaint With
                                           Prejudice
                        4
                                   To the extent Plaintiff seeks leave to amend the Complaint yet another time, the Court should
                        5
                            decline. Here, Plaintiff alleges no new facts that change the ultimate outcome that his claims are
                        6
                            preempted, and that he must exhaust his remedies through the grievance procedure.
                        7
                            V.     CONCLUSION
                        8
                                   As set forth above, and in Defendant’s prior motions to dismiss, Plaintiff’s SAC fails as a
                        9
                            matter of law. Although the Court generously changed its order of dismissal without leave to amend
                     10
                            to one with leave to amend, Plaintiff’s amendments simply did not remedy the defects justifying the
                     11
                            prior dismissal. Accordingly, Defendant respectfully requests that the Court dismiss Plaintiff’s SAC
                     12
                            without leave to amend.
                     13

                     14     Dated: July 11, 2022                                  LITTLER MENDELSON P.C.
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                                                                                  Gregory G. Iskander
                     17
                                                                                  Attorneys for Defendant
                     18                                                           GONSALVES & SANTUCCI, INC.
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                                                                             8.
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                                        DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S SECOND AMENDED COMPLAINT
